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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA

(1) THERESA JEAN MURPHY,
Plaintiff,

V' ease NO. 17-Cv-665-JHP-JFJ

(1) STATE FARM FIRE AND CASUALTY
COMPANY,

\/\_/\_/\/V\_/V\/V\./

Defendant.

,IOINT STIPULATION OF DISMISSAL WITH PREJUDICE
Pursuant to Fed. R. Civ. P. 4l(a)(1)(A)(ii), Plaintiff Theresa Jean Murphy, by and through
her attorney Michael D. McGrew of McGreW, McGrew & Associates, and Defendant State Farm
Fire and Casualty Company, by and through its attorney Lisa T. Silvestri of GableGotWals, hereby
stipulate a joint dismissal with prejudice of the above styled-lawsuit The parties have settled this

matter and each party agrees to bear its own costs, expenses, and attorneys’ fees.

 

 

Respectfully submitted,

/s/ Michael D. McGrew /s/ Lisa T. Silvestri
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Theresa _]ean Murphy

Attorneys for Defendant
State Farm Fire and Casualty Company

{1802119;}

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CERTIFICATE OF SERVICE
9
I hereby certify that on March }j, 2018, I electronically transmitted the foregoing document

to the Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic
Filing to the following ECF registrants:

Lisa T. Silvestri
J ames Wesley S. Pebsworth

s/Michael McGrew
Michael McGrew

{1802119;}

